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Local AO 442 (Rev. 10/11) Arrest Warrant

UNITED STATES DISTRICT COURT

DISTRICT OF NORTH DAKOTA RECEIVED
UNITED STATES MARSHALS

JAN 15 2020

United States of America

v. DISTRICT OF NORTH DAKOTA
Chad Michael Waldoch ) Case No. 3:20-cr-01
)
eee )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Chad Michael Waldoch

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment 1 Superseding Indictment (Information © Superseding Information © Complaint
O Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

Embezzlement of Assets;
Forfeiture allegation

 

Date: 01/15/2020 /s/ Ashley Sanders

Issuing officer's signature

City and state: Fargo, ND Ashley Sanders, Deputy Clerk

Printed name and title

 

Return

 

 

This warrant was received on (date) | S | 3030 _ , and the person me arrested on (date) D | AY [2 JD ad
at (city and state) 2 AY ?

owe Deities io

Arresting officer’ 5 signature

fee teh. Berkins

Printed name and title

 

 
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AO 442 (Rev. LO/L!) Arrest Warrant (Page 2)
This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender:

 

Known aliases:

 

Last known residence:

Prior addresses to which defendant/offender may still have ties:

Last known employment:

 

Last known telephone numbers:

 

 

 

 

 

 

 

 

 

Place of birth:

Date of birth:

Social Security number:

Height: Weight:
Sex: Race:
Hair: Eyes:

Scars, tattoos, other distinguishing marks:

 

 

 

History of violence, weapons, drug use:

 

 

Known family, friends, and other associates (name, relation, address, phone number):

 

 

FBI number:

 

Complete description of auto:

 

 

Investigative agency and address:

Name and telephone numbers (office and cell) of pretrial services or probation officer (ifapplicable):

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 

 
